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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

 IN RE CAPITAL ONE CUSTOMER
 DATA SECURITY BREACH LITIGATION                      MDL No. 1:19-md-2915 (AJT/JFA)

 This Document        Relates   ONLY     to   the
 following Case:

 MARCUS MINSKY, Individually and on Behalf
 of All Others Similarly Situated,

                          Plaintiff,                  Case No. 1:19-cv-1472 (AJT)

                          v.

 CAPITAL ONE FINANCIAL
 CORPORATION, RICHARD FAIRBANK, and
 R. SCOTT BLACKLEY,

        Defendants.


      DEFENDANTS’ MOTION TO DISMISS THE CLASS ACTION COMPLAINT

        Defendants Capital One Financial Corporation, Richard Fairbank, and R. Scott Blackley

 respectfully move to dismiss Plaintiff’s Class Action Complaint, filed October 2, 2019, pursuant

 to Rules 9(b) and 12(b)(6) of the Federal Rules of Civil Procedure and the Private Securities

 Litigation Reform Act of 1995, 15 U.S.C. § 78u-4 et seq. The grounds for this motion are set

 forth more fully in the accompanying supporting memorandum of law.

 December 6, 2019                             Respectfully submitted,
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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 6, 2019, I electronically filed the foregoing document

 with the Clerk of the Court using the CM/ECF system, which will send notice of electronic filing

 to all counsel of record.

                                                    /s/
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